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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

G.H., a minor, by and through his parent
and legal guardian, GREGORY HENRY;
R.L., a minor, by and through her parent
and legal guardian, ANGEL CARTER;
B.W., a minor, by and through her parent
and legal guardian, LEROI LUZUNARIS;
on behalf of themselves and all persons
similarly situated,

       Plaintiffs,

v.                                    CASE NO.: 4:19-cv-00431-MW-MJF

SIMONE MARSTILLER, in her official
capacity as Secretary of the Florida
Department of Juvenile Justice; and
FLORIDA DEPARTMENT OF JUVENILE
JUSTICE, an agency of the State of Florida,

     Defendants.
_______________________________________/

     DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ CLASS ACTION
            COMPLAINT AND, ALTERNATIVELY, MOTION
                 FOR MORE DEFINITE STATEMENT

       Defendants, Simone Marstiller, in her official capacity as Secretary of

the Florida Department of Juvenile Justice (“Secretary Marstiller”), and the

Florida Department of Juvenile Justice (“DJJ”), pursuant to Rule 12(b)(6)



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and (e) of the Federal Rules of Civil Procedure and Rule 7.1 of the

Northern District of Florida Local Rules, move to dismiss Plaintiffs’ Class

Action Complaint and, alternatively, move for more definite statement.

                               INTRODUCTION

      Plaintiffs’ Complaint purports to bring a class action on behalf of

juveniles, with a subclass of juveniles with alleged disabilities, and asserts

that Defendants’ actions violate (1) the Eighth and Fourteenth Amendments

of the United States Constitution, (2) the Americans with Disabilities Act,

and (3) Section 504 of the Rehabilitation Act. [Doc. 2 - Complaint] The

Plaintiff class allegedly consists of “several thousand” juveniles, plus

“several hundred subclass members,” “who are, or will be, in custody in a

DJJ-operated secure detention center” and subject to behavioral or medical

confinement (“confinement”). Id. at ¶ 103, 108, 111.

      There are 21 DJJ-operated secure detention centers throughout the

state. Id. at ¶ 3. The vision of DJJ is that “[t]he children and families of

Florida will live in safe, nurturing communities that provide for their needs,

recognize their strengths and support their success.”             Further, DJJ’s

mission, is “[t]o increase public safety by reducing juvenile delinquency


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through effective prevention, intervention and treatment services that

strengthen families and turn around the lives of troubled youth.”

Http://www.djj.state.fl.us/about-us/mission.     The     initial   placement    of

juveniles in Defendant’s detention care is governed by the procedures

described in § 985.24 et seq., Fla. Stat. (2019) and the length of the stay is

limited to 21 days pursuant to § 985.26, Fla. Stat. The rules governing

detention services may be found in the Florida Administrative Code, such

as Chapter 63G-1, and Chapter 63G-2. Those chapters require that the

Defendant provide treatment services for mental health, substance abuse,

and suicide prevention, to name a few. Defendant will classify juveniles

entering its facility for security purposes, and make room assignments

based on classifications that consider the juvenile’s history of behavior.

63G-2.020(4).     The use of confinement may not be used “to harass,

embarrass, demean, or otherwise abuse a youth”, and is limited to no more

than eight hours “unless the superintendent or his or her designee grants

an extension because release of the youth would imminently threaten his or

her safety or the safety of others.” 63G-2.022(4)(a) and (b). Juveniles are




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required to have daily activities including at least one hour of outdoor

exercise. 63G-2.023(7).

      According to the three representative Plaintiffs, who are or were

confined in two separate centers, “[t]he class is fluid, as [the juveniles]

regularly enter and leave the class.” Id. at ¶ 104. As Plaintiffs note, “[t]he

statewide average length of stay for a [juvenile] in Secure Detention was 14

days” during “FY 2017-18.” Id. at ¶ 46.

      Plaintiffs claim that Defendant Secretary Marstiller “is aware of and

has deliberately disregarded the substantial risk of harm to the rights of

Plaintiffs, and other similarly situated children, by authorizing and

subjecting them to illegal conditions of confinement, including a policy and

practice of using harmful solitary confinement in violation of the right to be

free from cruel and unusual punishment.” Id. at ¶ 7. Plaintiffs claim further

that Defendants “have also acted, and are acting, under color of state law

to discriminate against Plaintiffs and Class Members with disabilities.” Id.

      Unfortunately, it is clear that Plaintiffs’ purpose in bringing this lawsuit

is not to gain relief from some violation of constitutional rights. Rather, it is

to lobby this Court to judicially impose a level of care that is commensurate


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with the position papers, opinions, and articles supplied by various

advocacy groups. Even though the Constitution might require Defendants

to provide only “the minimal civilized measure of life’s necessities,” this

Complaint alleges an entitlement to much more, and provides little, if any,

factual support of a Constitutional violation.

      Defendants intend to supply a Memorandum that provides to the

Court a framework for determining what the Constitutional standard is, and

why there is no precedent from the Supreme Court or the Eleventh Circuit

to deviate from that standard, regardless of variations in age or mental or

physical health. Defendants will show that the Complaint here contains no

factual allegations to support their claims, and is due to be dismissed.

      It is difficult to resist spending a great deal of time challenging the

validity of the articles and opinions cited in the Complaint, and focus

exclusively on the law, as we must. Although the Courts are not the place

to debate the best practices for juvenile justice and rehabilitation, it is

important for the Court to at least appreciate that in some cases, Plaintiffs

grossly mischaracterize the information and opinions expressed in the

referenced materials. For instance, Plaintiffs cite to a July 2016 article, 51



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Jurisdiction Survey of Juvenile Solitary Confinement Rules in Juvenile

Justice Systems, to allege that “[a]t least 29 states have prohibited juvenile

detention facilities from using disciplinary isolation, or any isolation for

juveniles.” Id. at ¶ 77. Ironically, Florida is listed among the states to have

prohibited juvenile isolation, at least for punitive purposes. 51 Jurisdiction

Survey, Attachment 2. But the article goes on to concede that it considers

any state that limits confinement to a maximum of 4 hours per day, as

having “banned” the practice. Id. at 2. In another example, Plaintiffs allege

that five states have banned solitary confinement for juveniles. (Doc. 2, ¶

77) But, upon closer review, only one state (New Mexico) has outright done

so through legislation. These sorts of dubious references are meant to

create an illusion that Florida is somehow on an island of its own with

regard to its treatment of juveniles, as if this had some relevance to the

legal inquiry here.

       While material from the various advocacy groups, whether correctly

cited or not, may be useful talking points to Plaintiffs to help them move the

needle toward their obvious goal of eliminating any form of confinement for




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juveniles, these materials are not legal precedent and should not form the

basis upon which this Court makes its decision in this case.

                                  ARGUMENT

I.    SECRETARY MARSTILLER SHOULD BE DISMISSED

      The Complaint should be dismissed as to Secretary Marstiller in her

official capacity because such claims are nothing more than claims against

the governmental entity itself. “It is well established that ‘suits against an

official in his or her official capacity are suits against the entity the individual

represents.’” Parker v. Williams, 862 F.2d 1471, 1476 n.4 (11th Cir. 1989);

see also Monell v. Department of Social Services of City of New York, 436

U.S. 658, 691 n. 55 (1978). Thus, a suit against an officer in his or her

official capacity is simply a redundant way of asserting a plaintiff’s claims

against the governmental entity. Wallace v. City of Montgomery, 956 F.

Supp. 965, 976 (M.D. Ala. 1996).

      In contrast to individual capacity suits, when an officer is sued
      under Section 1983, in his or her official capacity, the suit is
      simply another way of pleading an action against an entity of
      which an officer is an agent . . . Such suits against municipal
      officers are therefore, in actuality, suits directly against the city
      that the officer represents . . . Consequently, a plaintiff cannot
      rely on a respondeat superior theory to hold a municipality
      liable for individual actions of its officers . . . Because suits


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      against an municipal officer sued in his official capacity and
      direct suits against municipalities are functionally equivalent,
      there no longer exists the need to bring official capacity actions
      against local government officials . . .

Busby v. City of Orlando, 931 F.2d 764, 776 (11th Cir. 1191). Accordingly,

Secretary Marstiller should be dismissed from this action. Furthermore, as

a practical matter, Secretary Marstiller has only been the DJJ Secretary

since January 2019, so she personally has only been responsible for

“planning, coordinating, and managing the delivery of all programs and

services within the juvenile justice continuum” since that time. §

20.316(1)(b), Fla. Stat. (2019). [Doc. 2, ¶ 39]

II.   FAILURE TO STATE A CAUSE OF ACTION

      A.    Motion to Dismiss Standard

      “A pleading that states a claim for relief must contain . . . a short and

plain statement of the claim showing that the pleader is entitled to relief.”

Fed. R. Civ. P. 8(a)(2). The federal rule does not require “detailed factual

allegations,” but “[a] pleading that offers labels and conclusions or a

formulaic recitation of the elements of a cause of action will not do.”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 555 (2007)) (internal quotation marks omitted).


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“To survive a motion to dismiss, a complaint must contain sufficient factual

matter, accepted as true, to ‘state a claim to relief that is plausible on its

face.’” Id. (quoting Twombly, 550 U.S. at 570).          The factual allegations

“must be enough to raise a right to relief above the speculative level.”

Twombly, 550 U.S. at 555. Although the court must accept a plaintiff’s

allegations as true when considering a motion to dismiss, a plaintiff’s

unsupported conclusions of law or mixed fact and law, “unwarranted factual

deductions,” and “legal conclusions masquerading as facts” will not prevent

a Rule 12(b)(6) dismissal. Resnick v. AvMed, Inc., 693 F.3d 1317, 1326

(11th Cir. 2012); Davila v. Delta Air Lines, Inc., 326 F.3d 1183, 1185 (11th

Cir. 2003).

      A district court has discretion to deny leave to amend a complaint

when the plaintiff provides no reason for the district court to believe that the

plaintiff could offer sufficient allegations to make a claim for relief that is

plausible on its face. Maynard v. Bd. of Regents of Div. of Univs. of Fla.

Dep’t of Educ. ex rel. Univ. of S. Fla., 342 F.3d 1281, 1287 (11th Cir. 2003);

Patel v. Georgia Dep’t BHDD, 485 F. App’x 982, 982-83 (11th Cir. 2012).




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      B.     No Eighth or Fourteenth Amendment Claim

      Counts I and II purport to be § 1983 actions pursuant to the Eighth or

Fourteenth Amendments. Plaintiffs’ essential allegations are that the use

of confinement poses a “substantial risk of serious harm” and that

Defendant Secretary Marstiller is subjectively aware of and “is deliberately

indifferent to the serious risk of harm” to the juveniles committed to DJJ

detention centers. Plaintiffs allege that the risk of harm begins immediately

upon isolation, and the deprivations and conditions occur whether a

juvenile is locked in his own room or in a separate confinement room. The

attempted blurring of clear constitutional standards by assertions of

national statistics, data, trends, studies of various advocates, researchers

and professionals highlights the lack of factual or legal substance to the

Complaint.

             1.    Constitutional Standard:

      The Eighth Amendment to the United States Constitution prohibits

cruel and unusual punishment. Pre-trial detainees, who are not protected

directly by the Eighth Amendment, can bring Eighth Amendment claims

through the Fourteenth Amendment. Bozeman v. Orum, 422 F.3d 1265,



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1271 (11th Cir. 2005). A claim based upon alleged unlawful conditions of

confinement “requires a two-prong showing: an objective showing of a

deprivation or injury that is ‘sufficiently serious’ to constitute a denial of the

‘minimal civilized measure of life’s necessities’ and a subjective showing

that the official had a ‘sufficiently culpable state of mind.’ ” Thomas v.

Bryant, 614 F.3d 1288, 1304 (11th Cir. 2010) (quoting Farmer v. Brennan,

511 U.S. 825, 834 (1994)).         “Under current precedent, administration

segregation and solitary confinement do not, in and of themselves,

constitute cruel and unusual punishment.” Quintanilla v. Bryson, 730 F.

App’x 738, 746 (11th Cir. 2018).

                   a.    Serious Harm

      “[E]xtreme deprivations are required to make out a conditions-of-

confinement claim. . . . only those deprivations denying the minimal

civilized measure of life's necessities are sufficiently grave to form the basis

of” a constitutional violation. Hudson v. McMillian, 503 U.S. 1, 8–9, 112 S.

Ct. 995, 1000, (1992) (internal citations and quotations omitted). “Extreme

deprivations” are those conditions that “involve the unnecessary and

wanton infliction of pain,” or are “inhumane.”           Farmer, at 832, 834.



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      Plaintiffs’ Complaint fails to make any factual allegations to support a

claim that they have suffered extreme deprivations and are being denied a

minimal civilized measure of life’s necessities. What the Complaint alleges

is that various advocacy groups assert that “solitary confinement poses a

risk of harm.” [Doc.2, ¶ 2 (emphasis added)] Similarly, the Complaint

alleges that Defendants subject Plaintiffs to “the serious risk of mental and

physical harm.” [Doc.2, ¶ 105 (emphasis added)] That phrase, “risk of

harm,” is used 28 times throughout the Complaint.              A “risk” of harm,

however, is not equivalent to an extreme deprivation.

      Plaintiffs fail to make any factual allegations of actual, serious harm

that is equivalent to an extreme deprivation. Any detention facility has risks

of harm, in some form or fashion, which come from putting a population of

people together under one roof. There could be risks of harm to the other

juveniles, or staff, if confinement is not utilized. Without an allegation of a

deprivation that is objectively, sufficiently serious, Plaintiffs cannot maintain

a § 1983 claim. See, Bass v. Perrin, 170 F.3d 1312, 1317 (11th Cir. 1999)

(The suspension of outdoor exercise time for inmates in solitary

confinement did not violate the Eighth Amendment; further, claims of



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sleeplessness, mood swings, and loss of muscle tone allegedly resulting

from the loss of outdoor exercise time did not qualify as “serious harm” for

Eighth Amendment purposes.).           Plaintiffs have not identified a single

juvenile that has suffered more than some form of theoretical, serious

harm.

        Defendants are not unmindful of cases wherein serious harm has

been found in situations of prolonged solitary confinement, often in

combination with other forms of deprivation.           Plaintiffs have cited the

concurring opinion of Justice Kennedy in Davis v. Ayala in support of their

position that “[t]he risk of harm from solitary confinement has been well-

recognized by the Supreme Court.” [Doc.2, ¶ 62]; Davis v. Ayala, 135 S.

Ct. 2187, 2208, 192 L. Ed. 2d 323 (2015). Justice Kennedy addressed

solitary confinement even though the issue had “no direct bearing on the

precise     legal    questions     presented      by     [the]   case.”         Id.

The issue arose out of a reference at oral argument to the fact that the

death row appellee had served the great majority of his more than 25 years

in custody in solitary confinement, likely “in a windowless cell no larger than

a typical parking spot for 23 hours a day; and in the one hour when he



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leaves it, he likely is allowed little or no opportunity for conversation or

interaction with anyone.”     Id.   Although Justice Kennedy observed that

“[y]ears on end of near-total isolation exact a terrible price,” he recognized

that, “[o]f course, prison officials must have discretion to decide that in

some instances temporary, solitary confinement is a useful or necessary

means to impose discipline and to protect prison employees and other

inmates.” Id. at 2210.

      The serious harm spoken of by Justice Kennedy refers to extreme

examples of isolation – not the temporary confinement by DJJ to discipline

juveniles who are, according to Plaintiffs, only at the detention centers for

an average total of 14 days. “Prolonged” confinement is a beast of an

altogether different nature. Moreover, it is a matter of degree that does not

lend itself to averages but must be examined on a case by case basis. In

this case, there are no allegations to suggest that DJJ engages in anything

approaching severe, prolonged periods of confinement.

                   b.    Subjective Knowledge

         Even if Plaintiffs had sufficiently supported their allegation with

facts of an objectively, serious harm, Plaintiffs have failed to adequately



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support the second prong of the constitutional standard. Under the Eighth

and Fourteenth Amendments, “a prison official cannot be found liable for . .

. denying an inmate humane conditions of confinement unless the official

knows of and disregards an excessive risk to inmate health or safety; the

official must both be aware of facts from which the inference could be

drawn that a substantial risk of serious harm exists, and he must also draw

the inference.” Farmer, 511 U.S. at 837. That is, the detainee must show

that the prison official acted with deliberate indifference by showing: “(1)

subjective knowledge of a risk of serious harm; (2) disregard of that risk;

[and] (3) by conduct that is more than gross negligence.”             Thomas v.

Poveda, 518 F. App’x 614, 616 (11th Cir. 2013).

       First, if the Court agrees that the Plaintiffs have failed to adequately

allege the presence of a harm which rises to the required level of an

extreme deprivation, e.g., one that deprives juveniles of the minimal

measure of life’s necessities, then the Court need go no further in its

analysis.   Obviously, Defendants could not have subjective knowledge of

the harm, and disregard it, if it was not there. But, assuming that there was




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such a serious harm, then the Complaint fails to appropriately support the

allegation of Defendants’ “culpable state of mind.”

      Plaintiffs begin their allegations on this issue on page 37, and

continue through page 41 of the Complaint. For factual support, Plaintiffs

first cite to allegations made in a lawsuit against DJJ in 2011 related to the

North Florida Youth Development Center. [Doc.2, ¶ 88-89] But eight year

old allegations related to a distinct (now closed) facility, are not facts

supporting knowledge of some ongoing, systemic, and inhumane condition.

It might be different if the instant lawsuit related only to that facility, and

further related to the same malfeasance.            Next, Plaintiffs allege that

Defendants’ culpable mind is shown by the fact that its policies on

confinement are different in its Residential facilities, as opposed to its

Secure Detention facilities. [Doc. 2, ¶ 91-93]         This, however, offers no

support that some inhumane condition is deliberately being disregarded.

The facilities are obviously different, with different purposes, different

populations, and different needs for maintaining order.            There are no

allegations that the juveniles in one type of facility are deliberately, and

sadistically being singled out from those in others. Lastly, Plaintiffs point to



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their own e-mails and letters, or rather, those sent from Plaintiffs’ counsel

which urge policy changes. [Doc. 2, ¶ 95] These communications, along

with all other communications from interested groups on juveniles, may be

considered as nothing more than suggestions for future policy changes.

They are not authentic evidence of extreme deprivations.

                   c.    Officially Sanctioned Acts

      Defendants herein may only be held liable under § 1983 for acts for

which it is actually responsible - those acts it has “officially sanctioned or

ordered” – and cannot be held vicariously liable for acts of its employees.

Pembaur v. City of Cincinnati, 475 U.S. 469, 479-80, (1986); Monell v.

Dep’t of Soc. Servs., 436 U.S. 658, 691 (1978) (“A local government may

not be held liable solely because it employs a tortfeasor.”); Nettles v. City of

Leesburg-Police Dep’t, 415 F. App’x 116, 122 (11th Cir. 2010) (stating that

a governmental entity’s culpability cannot be inferred from a plaintiff’s

deprivation of federal rights at the hands of an employee of the entity).

      Rather, when pursuing a claim against a governmental entity for

constitutional violations, a plaintiff must identify a municipal “policy” or

“custom” that caused the plaintiff's injury. Board of County Comm'rs of



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Bryan County, Ok. v. Brown, 520 U.S. 397, 403, 117 S.Ct. 1382 (1997). “A

policy is a decision that is officially adopted by the municipality, or created

by an official of such rank that he or she could be said to be acting on

behalf of the municipality. . . A custom is a practice that is so settled and

permanent that it takes on the force of law.”          Sewell v. Town of Lake

Hamilton, 117 F.3d 488, 489 (11th Cir. 1997).             A “plaintiff must also

demonstrate that, through its deliberate conduct, the municipality was the

‘moving force’ behind the injury alleged. That is, a plaintiff must show that

the municipal action was taken with the requisite degree of culpability and

must demonstrate a direct causal link between the municipal action and the

deprivation of federal rights.” Brown, 520 U.S.at 404 (emphasis in original).

        Here, Plaintiffs have failed to identify a particular DJJ policy that

allegedly causes the inhumane conditions, but should be made to do so.

For example, one policy mentioned in the Complaint actually limits

confinement to 72 hours. [Doc.2, ¶ 48] Is this the policy that causes the

alleged harm?     Or, are Plaintiffs claiming that any policy, allowing any

amount of confinement, is unconstitutional? Their allegations, instead,

make sweeping statements about the violations of unidentified policies,



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such as “children are isolated from others in a locked room for an indefinite

period of time.” [Doc. 2, ¶ 47] If Plaintiffs cannot even identify a particular

policy, Defendants cannot be held liable for the adoption of an allegedly

unconstitutional policy.

      In the absence of a formally adopted policy causing the constitutional

violation, Plaintiffs can support their claim through a showing of a

widespread practice that rises to the level of policy.        Plaintiffs allege, in

places, that Defendant’s policies are regularly violated.               However,

institutional “liability for deliberate indifference based on the implementation

of a facially constitutional policy requires the plaintiff to show that the

defendant had actual or constructive notice of a flagrant, persistent pattern

of violations.” Goodman v. Kimbrough, 718 F.3d 1325, 1335-36 (11th Cir.

2013) (quotation marks omitted) (emphasis added) ([T]he fact that jailers ...

did not enter every cell in accordance with policy and commonly

deactivated emergency call buttons [was] simply insufficient to meet the

‘extremely rigorous standard for supervisory liability’” that case precedent

demands.); see also, Silcox v. Hunter, 2018 WL 3633251, at *6 (M.D. Fla.

July 31, 2018) (The plaintiff’s allegation of “customarily failing” to follow



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suicide watch policies was insufficient to satisfy the “extremely rigorous

standard for supervisory liability; the plaintiff failed to show the existence of

a ‘flagrant persistent pattern of violations,’ let alone that [the sheriff] had

actual or constructive knowledge of it.”).

      Plaintiffs herein have similarly failed to meet the “extremely rigorous

standard” of showing that the custom of not following DJJ’s written policies

is “so settled and permanent as to have the force of law.”         Plaintiffs have

supplied no factual support of these routine violations, or even identified

what policies are supposedly being regularly violated.            Therefore, the

Complaint cannot possibly establish a flagrant, persistent pattern of policy

violations.   And finally, Plaintiffs have supplied no factual support for the

allegation that DJJ had actual or constructive knowledge of a flagrant,

persistent pattern of violations of its policies.

      Other than Plaintiffs’ broad, conclusory generalizations in the

preliminary statement and the more narrow and yet factually deficient

allegations regarding the three named Plaintiffs, there is a complete

absence of any sufficient allegation as to the actual policies, customs or

practices of DJJ that are supposedly resulting in unconstitutional, extreme



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deprivations of confinement resulting from deliberate indifference to a

known substantial risk of serious harm. Accordingly, Plaintiffs have failed

to state a valid § 1983 cause of action.

            2.     No Different Constitutional Standard for Juveniles

      The Supreme Court has not recognized, contrary to the allegations of

the Complaint, a constitutional difference between how juvenile detainees

and adult detainees should be treated in order to maintain security and

order within a detention center.          In support of their alleged broad

consensus that the psychological vulnerability of children places them at an

increased risk of harm, Plaintiffs cite the Supreme Court cases of Graham

v. Florida, 560 U.S. 48, 130 S. Ct. 2011 (2010); Roper v Simmons, 543

U.S. 551,560-561, 125 S. Ct. 1183 (2005), and Miller v. Alabama, 567 U.S.

460, 132 S. Ct. 2455 (2012).         While these three U.S. Supreme Court

opinions distinguish the treatment of juveniles from adults as to sentencing

issues, the attempted use of dicta regarding juvenile development to

establish a general constitutional principle that juveniles must be managed

differently in a detention setting is unprecedented. None of these cases




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attempt to change the constitutional standard for juveniles in a condition of

confinement claim.

      Neither state law nor the best practices proposed by Plaintiffs define

what is constitutional in a detention facility. Bell v. Wolfish, 441 U.S. 520,

543, n. 27, 99 S. Ct. 1861 (1979) (stating that the suggestions and goals of

various advocates “simply do not establish the constitutional minima”).

Neither are the “best interests” of juveniles in secured detention

synonymous with what the constitution requires. See Reno v. Flores, 507

U.S. 292, 303, 113 S. Ct. 1439, 1448 (1992).               Plaintiffs’ attempt to

bootstrap their theories of best practices and best interests into a

constitutionally mandated “better way to do things” is legally unsound and

inappropriate.

            3.     Judicial Deference to Juvenile Detention Officials

      For relief in this action, Plaintiffs seek to have this Court “declare that

the conditions, acts, omission, policies, and practices of Defendants . . . are

in violation of the rights of Plaintiffs and the class and subclass they

represent” and to enjoin Defendants’ acts and practices.            Id. at 57-58.

Moreover, Plaintiffs seek to have the Court order Defendants “to develop



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and implement, as soon as practical, a plan to eliminate the substantial risk

of serious harm described” in the Complaint and to “[r]etain jurisdiction over

Defendants until such time as the Court is satisfied that the unlawful

policies, practices, acts, and omissions complained of no longer exist and

will not recur.” Id. at 58.

      Plaintiffs’ demand that the Court oversee the development and

application of a plan for the management of DJJ’s 21 detention centers

calls for the Court to impermissibly insert itself into the business of the

legislative and executive branches. Any such attempt is contrary to the

dictates of the Supreme Court, as set forth in Bell v. Wolfish, where the

Supreme Court clearly held that the constitutional question is not whether

there is an arguably better way to do things – but whether a “particular

system violates any prohibition of the Constitution.” Bell at 562. Because

“the problems that arise in the day-to-day operation of a corrections facility

are not susceptible to easy solutions . . . [DJJ] should be accorded wide-

ranging deference in the adoption and execution of policies and practices

that in their judgment are needed to preserve internal order and discipline

and to maintain institutional security.” Id. at 547.



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      The Supreme Court has warned that “it is not appropriate for the

courts to specify which of several professionally acceptable choices should

have been made.” Youngberg v. Romeo, 457 U.S. 307, 322, 102 S. Ct.

2452 (1982). “‘[T]he Constitution only requires that the courts make certain

that professional judgment in fact was exercised.’”         Id. at 321.    As the

Supreme Court has explained:

      In determining whether restrictions or conditions are reasonably
      related to the Government's interest in maintaining security and
      order and operating the institution in a manageable fashion,
      courts must heed our warning that “[s]uch considerations are
      peculiarly within the province and professional expertise of
      corrections officials, and, in the absence of substantial
      evidence in the record to indicate that the officials have
      exaggerated their response to these considerations, courts
      should ordinarily defer to their expert judgment in such
      matters.”

Bell, 441 U.S. at 540, n. 23 (emphasis added); see also, Whitley v.

Albers, 475 U.S. 312, 322, 106 S. Ct. 1078 (1986) (“That deference

extends to a prison security measure taken in response to an actual

confrontation with riotous inmates, just as it does to prophylactic or

preventative measures intended to reduce the incidents of these or any

other breaches of prison discipline. It does not insulate from review actions

taken in bad faith and for no legitimate purpose, but it requires that neither


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judge nor jury freely substitute their judgment from that of officials who

have made a considered choice.”).

        Under this guide, the Courts are cautioned against involving

themselves in the minutiae of the institution, and it is easy to see

why.     Would the Plaintiffs here have the Court decide at what point a

scuffle becomes a fight, and then decide whether the Constitution allows

for 3 hours of confinement, or just 2? Would it be constitutional to confine

someone if they were found with contraband? Is it constitutional to confine

someone with a knife, but unconstitutional to confine someone selling

drugs? Is the Court going to decide which mental health disorders deserve

additional “programs, services, and activities?” What if the disorder is

transient, like a mood disorder, rather than something more permanent like

ADHD or Bi-Polar disorder? The Supreme Court has warned that this is an

impermissible endeavor that crosses into the domain of the legislative and

executive branches.

        C.   No ADA or Section 504 Claim

        The Plaintiffs assert claims under the Americans with Disability Act

(ADA)(Count III) and Section 504 of the Rehabilitation Act (Rehabilitation



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Act)(Count IV) alleging the same violations. Specifically, Plaintiffs allege

that Defendants discriminate against qualified individuals with a disability

by denying them opportunities to receive services in the most integrated

setting appropriate for their needs when Defendants place these individuals

in some form of confinement because of their behavior. [Doc. 2, ¶¶ 135-

137; 143-146].

      The ADA provides that “no qualified individual with a disability be

excluded from participation in or be denied benefits of the services,

programs, or activities of a public entity.” 42 U.S.C. Section 12312. The

Rehabilitation Act provides that, “[n]o qualified individual with a disability be

excluded from participation in, denied the benefits of, or be subjected to

discrimination under any program or activity receiving Federal financial

assistance.” 29 U.S.C. Section 794(a). Claims under both statutes are

governed by the same standards. Cash vs. Smith, 231 F.3d 1301, 1305

(11th Cir. 2000).

      To state a claim under either statute, the Plaintiffs must show: “(1)

that [they are] qualified individual[s] with a disability; (2) that [they were]

either excluded from participation in or denied the benefits of a public



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entity’s services, programs, or activities or [were] otherwise discriminated

against by the public entity; and (3) that the exclusion, denial of benefit, or

discrimination was by reason of the plaintiff[s’] disability.” Bircoll vs. Miami-

Dade Cnty., 480 F.3d 1072, 1083 (11th Cir. 2007).             The ADA defines

“disability” as “(A) a physical or mental impairment that substantially limits

one or more of the major life activities of an individual; (B) records of such

impairment; or (C) being regarded as having such an impairment.”                42

U.S.C. Section 12102(2).         A medical or mental diagnosis alone is

insufficient to demonstrate a disability under the ADA and the Rehabilitation

Act. Forbes vs. St. Thomas Univ., Inc., 768 F.Supp. 2d 1222, 1229 (S.D.

Fla. 2010). A plaintiff must also demonstrate that any mental health or

medical impairment substantially limits a major life activity.         42 U.S.C.

Section 12102(2).     Lastly, where a plaintiff claims discrimination based

upon the refusal to provide a reasonable accommodation, the plaintiff must

also establish that he or she requested the accommodation and that it was

denied. Schwarz v. the Villages Charter School, Inc.165 F.Supp. 3d 1153,

1173 (M.D. Fla. 2016, aff’d sub nom. Schwarz vs. Bd of Supervisors on

behalf of Villages Cmty. Dev. Districts, 672 F.App’x 981 (11th Cir. 2017).



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      The ADA and Rehabilitation claims herein are subject to dismissal.

The allegations by each named Plaintiff of specific diagnoses and

symptoms are not sufficient to support that the impairments substantially

limit one or more major life activities. Plaintiffs only allege that they do not

have the effective coping skills to manage conditions of confinement. [Doc.

2, ¶ 97]    This allegation alone does not establish an impairment that

substantially limits one or more major life activities.

      Plaintiffs have also failed to plausibly allege an exclusion or

discrimination claim pursuant to either statute. Plaintiffs do not allege that

they were placed in confinement or remained in confinement because of

their “disability.” Redding v. State of Georgia, 557 Fed. App. 840 (11th Cir.

2014)(A prisoner’s ADA claim was subject to dismissal because he failed to

allege that his disability was the reason he was assigned a top bunk

despite his bottom bunk profile.). There are no alleged facts supporting

that Defendants decided to exclude or discriminate against Plaintiffs

because of their respective “mental illness” or disability. All three named

Plaintiffs allege they were placed in some level of confinement because of

their respective behaviors. Id. at ¶¶ 15, 16, 24, 32, 34. There are no facts



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supporting that any of the named Plaintiffs, or any other individual, was

singled out for confinement because of a disabling mental illness as

opposed to disciplinary behavior.        See Gonzalez v. Maurer, 2017 WL

4531685 (D. Conn. 2017)(dismissing ADA and Rehabilitation Act claims

based on denial of eye care, because the complaint was that the prisoner

had not received treatment for his vision, not that any vision disability

prompted any of the defendants to discriminate against or disadvantage

him).

        The complaint by each named Plaintiff that they were placed in

confinement despite their disability is not a claim protected by either Act.

The claims do not assert that each of the named Plaintiffs’ mental illness or

disability prompted Defendants to discriminate or that he was singled out

for confinement because of his disability.      Brown v. Pennsylvania Depart.

Of Corrections, 290 Fed. Appx. 463, 467 (3rd Cir. 2008)(A prisoner’s claim

that his placement in segregation violated the ADA because he had no

access to mental health services failed because the prisoner did not allege

facts sufficient to show that the prison denied him access to mental health

treatment by reason of his alleged disabilities.); Tuttle v. Semple, 2018 WL



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705004 (D. Conn 2018)(The plaintiff’s case was dismissed because there

were no facts to suggest that the plaintiff was singled out for segregation

because of his disabling mental illness rather than for his disciplinary

violation).

      The named Plaintiffs were not placed in confinement because of their

disability, but because their behavior violated detention rules. G.H. alleges

that he was put in confinement for fighting with other juveniles (Id. at ¶¶ 15,

16); R.L. alleges she was put in confinement because she was involved in

a physical altercation (she categorizes it as being “punched”) and peeled

paint off the walls (Id. at ¶ 24); and B.W. alleges that she was put in

confinement because she refused to go to school and was fighting, arguing

and cursing at staff (Id. at ¶¶ 32, 33). The precipitating conduct resulting in

placement in confinement was not disability-related behavior, but behavior,

regardless of disability, that required Defendant to enforce policies to

ensure the care, custody and control of its facilities. Lastly, none of the

named Plaintiffs identify an available, reasonable accommodation which

failure, standing alone, is fatal to the claims.




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III.    MORE DEFINITE STATEMENT REQUIRED

        Even if the Court does not dismiss Plaintiffs’ Complaint, pursuant to

Rule 12(e) of the Federal Rules of Civil Procedure, “[a] party may move for

a more definite statement of a pleading . . . which is so vague or

ambiguous that the party cannot reasonably prepare a response. Fed. R.

Civ. P. 12(e). Set forth hereafter is a non-inclusive list of questions that

have been generated by the ambiguous and vague allegations of Plaintiffs’

Complaint. Defendants require better clarity as to the following issues in

order to appropriately respond to the Complaint:

1.      Are Plaintiffs claiming that any confinement is unconstitutional per

se? According to Plaintiffs, “[s]olitary confinement is unnecessary,

unproductive, and can be permanently damaging to the individuals

subjected to it.” Complaint at ¶ 2. Further, Plaintiffs quote “authorities”

who have allegedly opined that confinement should be eliminated for

juveniles. Id.

2.      Are Plaintiffs attempting to create a new constitutional standard for

the confinement of juveniles? Plaintiffs claim that “[t]he risk of harm for

children    begins   immediately     when    they    are   isolated   in   solitary



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confinement.” Id. at ¶ 1. So, does that mean the Court must decide if the

Constitution requires open doors, and social interaction, at all times for

juveniles?

3.    If Plaintiffs are not claiming that any confinement is unconstitutional

per se, what length of time is so long that it violates the Constitution? And

how is the time calculated – per confinement, cumulatively during one

detention center stay, cumulatively over separate detention center stays or

other? Plaintiffs claim that some detention entities only use “very brief,

short-term separation of a youth from others . . . and only as a last resort.”

Id. at ¶ 6. DJJ allegedly “subjects many children to repeated periods of

solitary confinement, increasing the length of time that they cumulatively

spend in isolation.”     Id. at ¶ 49.       What is the time limit which the

Constitution permits, beyond which would be unconstitutional?

4.    Is there a constitutional difference between being placed in a

specially designated room for confinement and being placed alone in one’s

own room, or are Plaintiffs treating these confinements as constitutionally

the same? DJJ allegedly “subjects children to solitary confinement by

either locking them in the cells they typically live in or by placing them in



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separate confinement cells for the duration of the confinement period.”

Would it be unconstitutional to provide a single room to a juvenile who

requests it?

5.     Subclass: If Plaintiffs are not claiming that any confinement is

unconstitutional per se, are they claiming that the subclass of allegedly

disabled juveniles is constitutionally exempt from any confinement? By

alleging that DJJ “does not have a policy to exclude children with mental

illness or who are at a heightened risk of suicide or self-harm from solitary

confinement,” Plaintiffs are presumably claiming that such a policy is

constitutionally mandated. See id. at 60.

6.    Subclass: If Plaintiffs are not claiming that the subclass is per se

exempt from confinement, are Plaintiffs seeking to impose different

constitutional standards for different types of alleged disabilities? And must

there be a complete mental health assessment prior to any confinement in

order to determine where on the continuum the individual falls?              Once

again, by alleging that “DJJ, through policy and practice, does not provide

an assessment by a mental health professional before it subjects a child

with mental illness to solitary confinement,” Plaintiffs are presumably



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demanding that such a policy is constitutionally mandated. See id. at 61.

Is this Court then being asked to declare which disabilities exempt a

juvenile from confinement? Or which disabilities require less time in

confinement?

7.    Which of Defendants’ policies are unconstitutional per se, and which

policies are being customarily violated?



      As evident from the handful of questions set out above, Plaintiffs’

140-paragraph Complaint is ambiguous and frequently contradictory. It is

of the utmost importance that Plaintiffs clarify whether they seek to

establish that the confinement of all juveniles is unconstitutional per se,

whether some heretofore unidentified policies or customs of DJJ are

unconstitutional or whether the application of those DJJ policies or customs

is unconstitutional. If it is either of the latter two, specifically what methods,

deriving from what policies or customs, are allegedly unconstitutional?

Without more precise allegations by Plaintiffs, Defendants cannot

appropriately respond to the Complaint. Moreover, precise allegations will

control the direction of what is likely to be a significant legal undertaking.



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Accordingly, if the Court does not dismiss Plaintiffs’ Complaint, Defendants

request that the Court require Plaintiffs make a more definite statement of

their claims.

                                 CONCLUSION

      Plaintiffs’ Complaint, more accurately described as a position paper

on the status of confinement practices for juveniles, fails to state a cause of

action for the alleged violation of constitutional rights and should therefore

be dismissed. Accordingly, Defendants, Simone Marstiller, in her official

capacity as Secretary of the Florida Department of Juvenile Justice, and

the Florida Department of Juvenile Justice, request that the Court dismiss

Plaintiffs’ Complaint.    Alternatively, Defendants request that the Court

require Plaintiffs to make a more definite statement of their claims.

                   LOCAL RULE 7.1(F) CERTIFICATION

      In accordance with Local Rule 7.1(F), the undersigned counsel

certifies compliance with the word limits in Local Rule 7.1(F). There are

6,669 words in this Motion to Dismiss Plaintiffs’ Class Action Complaint

and, Alternatively, Motion for More Definite Statement with incorporated

memorandum of law.



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      I HEREBY CERTIFY that on October 28, 2019, I electronically filed

the foregoing with the Clerk of the Court by using the CM/ECF system. I

further certify that the foregoing document is being served this day on all

counsel of record identified on the CM/ECF system and transmitted in

accordance with CM/ECF requirements.

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